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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF SOUTH CAROLINA
                         GREENVILLE DIVISION

Beulah K. Ellis,         )
                         )
          Plaintiff,     )
                         )        COMPLAINT
vs.                      )        JURY TRIAL REQUESTED
                         )        C/A No. 6:24-cv-01018-DCC
J.C. Penney Corporation, )
Inc. and Simon           )
Property Group, L.P.,    )
                         )
          Defendants.    )


          The Plaintiff, complaining of the Defendant, alleges:

          1.   The Plaintiff is a citizen and resident of Oconee

County, South Carolina.

          2.   The Defendant, J.C. Penney Corporation, Inc., is a

corporation organized and existing under the laws of the State of

Delaware and at all times mentioned herein was doing business in

Greenville County, South Carolina.

          3. Plaintiff is informed and believes that the Defendant

Simon Property Group, L.P. is the owner of Haywood Mall and leases

various retail spaces to tenants therein including the retail space

occupied by the Defendant J.C. Penney Corporation, Inc.

          4.   The Court has subject matter jurisdiction over the

claims in this complaint pursuant to 28 U.S.C. 1332(a)(1) as the

amount in controversy exceeds the sum or value of $75,000.00 and is

between citizens of different states. Venue is proper pursuant to

28 U.S.C. 1391(b) because a substantial part of the events or
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omissions giving rise to the claim occurred in this district, and

the Defendant is subject to personal jurisdiction in this district.

             5.     On February 1, 2023, the Plaintiff and her family

were invitees to the J.C. Penney retail department store located at

the Haywood Mall in Greenville, South Carolina.

             6.    The Plaintiff attempted to ascend on the escalator

from the first floor to the second floor when the escalator jerked

causing her to fall, resulting in severe injuries and damages.

             7.     As a direct and proximate result of her fall,

Plaintiff    suffered        medical    expenses,        serious   bodily   injury,

physical and mental pain and suffering, mental anguish, and will

continue    to     do   so   in   the   future,    and    has   suffered    physical

disability, and a loss of enjoyment of life.

             8.     The fall and Plaintiff’s damages, and injuries, were

the direct and proximate result of the Defendants’ combined and

concurring       willful,    wanton,     reckless,       grossly    negligent,       and

careless acts in the following particulars:

              a.    In failing to properly maintain the escalator;

              b.    In failing to properly inspect the escalator;

              c.    In failing to train its employees with regard to

                    inspection of the escalator;

              d.    In failing to have proper policies and procedures

                    in place for the inspection of the escalator;

              e.    In failing to follow such policies and procedures,

                    if any;
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              f.    In failing to use the degree of care and caution

                    that would otherwise be used by reasonably prudent

                    entities with respect to escalators;

all of which was a direct and proximate cause of the injuries and

damages complained of herein.

          9.       As a result of the combined and concurring acts and

omissions of the Defendants, Plaintiff is informed that she is

entitled to the actual damages, plus such punitive damages as the

Court may award, and for such other and further relief as to the

Court may seem just and proper.

          WHEREFORE, Plaintiff prays for actual damages, plus such

punitive damages as may be awarded, for the costs of this action,

and for such other and further relief as to the Court seems just

and proper.

                                     KNIE & SHEALY

                                     /s/ Patrick E. Knie

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February 28, 2024
